Case 20-18488-MBK            Doc 676       Filed 02/26/21 Entered 02/26/21 14:49:29                 Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)
  GIBBONS P.C.
  Karen A. Giannelli, Esq.
  Camille V. Otero, Esq.
  Kevin W. Weber., Esq.
  One Gateway Center
  Newark, New Jersey 07102
  Telephone: (973) 596-4500
  Facsimile: (973) 596-0545
  E-mail: kgiannelli@gibbonslaw.com
   cotero@gibbonslaw.com
   kweber@gibbonslaw.com
  Special Environmental Counsel to the Debtor


                                                                     Case No.:        20-18488(MBK)
                                                                                     _______________
  In Re:
      CONGOLEUM CORPORATION,                                         Adv. Pro. No.: _______________
                        Debtor.                                      Chapter:               11
                                                                                     _______________

                                                                                      3/4/2021
                                                                     Hearing Date: _______________

                                                                     Judge:          Michael Kaplan
                                                                                     _______________


                                          ADJOURNMENT REQUEST

 1.                    Karen A. Giannelli
           I, ___________________________________,
                                              Special Environmental Counsel to the Debtor
                   am the attorney for: ______________________________________________________,
                  am self represented,

           and request an adjournment of the following hearing for the reason set forth below.

                   Supplemental Fee Application of Gibbons P.C. [ECF 670]
           Matter: ________________________________________________________________________

                                          3/4/2021 10:00am (ET)
           Current hearing date and time: ____________________________

                               4/15/2021 10:00am (ET)
           New date requested: ____________________________________

                                           To negotiate potential objections to Supplemental
           Reason for adjournment request: ___________________________________________________

           Fee Application
           ______________________________________________________________________________

 2.        Consent to adjournment:

            I have the consent of all parties.      I do not have the consent of all parties (explain below):
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 I certify under penalty of perjury that the foregoing is true.


       2/26/2021
 Date: ___________________________                           /s/ Karen A. Giannelli
                                                             _______________________________
                                                             Signature




 COURT USE ONLY:

 The request for adjournment is:

 x Granted
                                                      4/15/21 at 10:00 a.m.
                                   New hearing date: ________________________           Peremptory


  Granted over objection(s)       New hearing date: ________________________           Peremptory


  Denied




           IMPORTANT: If your request is granted, you must notify interested
           parties who are not electronic filers of the new hearing date.




                                                                                               new.9/23/15




                                                        2
